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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                              )
IN RE: AQUEOUS FILM-FORMING                   )       MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                      )
LITIGATION                                    )       CASE MANAGEMENT ORDER NO. 13
                                              )
                                              )       This Order Relates to All Actions
                                              )

                INITIAL BELLWETHER SELECTION AND PROTOCOLS

       The Court hereby issues the following Case Management Order (“CMO”) to govern initial

aspects of the Bellwether process and protocols for certain types of cases in this complex MDL.

The presence of various different types of cases, claims, and parties in this MDL requires different

Bellwether processes for the different case types that will proceed on different schedules and

therefore be governed by subsequent CMOs. The first bellwether category shall be selected from

Water Provider cases.1

       To address the complexities of these cases in general, the Court will implement a two-tier

process for each category of Bellwether Case. Additional categories of bellwether cases and the

process and timing for selection, Core Discovery (as defined below), and bellwether trial pool

selection will be governed by subsequent case management orders. Tier One will consist of

identifying and selecting “Bellwether Discovery Pool Cases.” Bellwether Discovery Pool Cases

will be selected by the parties and undergo additional discovery (beyond the Plaintiff Fact Sheet




1
  The “Water Provider cases” include cases involving public water providers (i.e.,
municipal/city/county providers) and also privately owned or held water providers, but they do
not include cases where the United States is a named defendant, which cases are excluded from
the Water Provider Bellwether Discovery Pool.


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(“PFS”) and Defense Fact Sheet (“DFS”) processes and the general liability discovery of

defendants that is currently proceeding), which shall be referred to as “Core Discovery.”

       This CMO shall address how Water Provider Cases will be selected into the Bellwether

process and the scope of Core Discovery in those cases. The Court will address in a subsequent

CMO (i) the selection, scope, and timing of Core Discovery for cases other than the Water Provider

Cases, and (ii) procedures and timing for litigating those Water Provider Bellwether Discovery

Pool Cases that, pursuant to paragraph G below, are selected for a smaller pool as Bellwether Trial

Pool Cases (Tier Two of the bellwether selection process).

       A.      In order for a Water Provider Plaintiff to be eligible for selection as a Bellwether

Discovery Pool Case, its complaint must have been filed and served on all named defendants on

or before December 24, 2020, and that Water Provider Plaintiff must have served a substantially

complete PFS pursuant to CMO 5 by January 5, 2021 and have any deficiencies cured by January

22, 2021, or objections to same served. To the extent the parties dispute the sufficiency of a PFS

as of January 22, 2021, the parties agree that they will bring that dispute to the Court’s attention

for resolution on an expedited basis.

       B.      The parties shall meet and confer and attempt to agree on the cases that will

comprise these “Water Provider Bellwether Discovery Pool Cases.” There shall be a total of 12

cases in this Pool.

       1.      Plaintiffs (by the Plaintiffs’ co-lead counsel or their designated Water Provider

               Bellwether Leadership Committee) and Defendants (by the Defense Coordinating

               Committee (“DCC”)) shall select the agreed Water Provider Bellwether Discovery

               Pool cases by February 24, 2021. Each agreed designation shall include the

               following information: (1) Plaintiff’s counsel information, (2) list of all defendants




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       in the case (and counsel information), (3) a list of parties that have and have not

       waived Lexecon rights (4) a brief summary of the alleged AFFF exposure and site

       location(s), (5) the proposed Bellwether Plaintiff’s Complaint, and (6) the

       Defendants’ statements of affirmative defenses,

  2.   In the event the parties cannot agree on any or all 12 selections, Plaintiffs (by the

       Plaintiffs’ co-lead counsel or their designated Water Provider Bellwether

       Leadership Committee) and Defendants shall each propose to the Court a slate of

       Water Provider cases equal to two fewer than the number of cases remaining to be

       selected, with each side in no event proposing more than seven cases and no fewer

       than two cases. By way of example, if the parties agree on ten of the twelve possible

       cases, the DCC and the PEC shall each propose two cases to the Court, and the

       Court may select two cases from those four possibilities in order to make a total

       pool of 12 Water Provider Bellwether Discovery Pool cases unless the Court finds

       neither side’s proposals representative, in whole or in part, and directs the Parties

       to further confer or address the Court’s concerns with the selections proposed by

       one or both sides, or decides to use the 10 cases agreed upon by the parties (as set

       forth in this example) , or fashion such other relief the Court deems warranted under

       the circumstances. By way of further example, if the parties agree on nine of the

       twelve possible cases, the DCC and the PEC shall each propose three cases to the

       Court, and the Court may select three cases from those six possibilities in order to

       make a total pool of 12 Water Provider Bellwether Discovery Pool cases unless the

       Court finds neither side’s proposals representative, in whole or in part, and directs

       the Parties to further confer or address the Court’s concerns with the selections




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       proposed by one or both sides, or decides to use the 9 cases agreed upon by the

       parties (as set forth in this example), or fashion such other relief the Court deems

       warranted under the circumstances. Each side, the Plaintiffs and the Defendants,

       shall propose Water Provider cases that are representative of the Water Provider

       cases pending in the MDL.

  3.   As to the cases that are not agreed to (if any), by no later than February 26, 2021,

       each side shall submit simultaneous briefing to the Court explaining why the cases

       they have selected are representative of the Water Provider cases pending in the

       MDL, and include Plaintiff’s counsel information, list of all defendants in the case,

       whether a Lexecon waiver has been secured from all parties in the case (and if not

       who has not yet agreed), a brief summary of the alleged AFFF exposure and site

       location(s), the proposed Water Provider Bellwether Plaintiff’s causes of

       action/claims, and whether a Rule 12(b)(1) or 12(b)(2) motion is contemplated, and,

       if so, which Defendants propose to file such a motion.           From the parties’

       submissions, the Court may select from the proposed cases as described in this

       paragraph A such that there is a Bellwether Water Provider Discovery Pool of

       twelve cases. If, however, the Court finds for any reason that the cases proposed

       by the parties are not representative, in whole or in part, or otherwise is not

       persuaded that the cases are appropriate selections for the discovery pool, the Court

       will issue such further order as may be warranted at that time based on the

       submissions of the parties or such other matter as the Court may view as appropriate

       for the selection of the cases to be in a Bellwether Water Provider Discovery Pool.




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       4.      For the avoidance of doubt, if a party waives Lexecon as to a specific case in the

               Water Provider Bellwether Discovery Pool, such waiver will not apply to any other

               case in the MDL.

       5.      Should the Court determine that it requires additional nominations from the parties

               in order to select twelve representative Water Provider Bellwether Discovery Pool

               cases, the parties shall promptly meet and confer to propose any replacement

               case(s) and submit such replacement case(s) to the Court. In the event such

               additional submissions are necessary, the parties shall meet and confer as to

               whether to extend the deadlines set forth below for these specific additional cases,

               as may be necessary or as directed by the Court in its discretion. As to any Water

               Provide Discovery Pool Cases previously identified (whether based on the agreed

               list submitted by PEC and Defendants per paragraph 1 or as selected by the Court

               based on submissions made per paragraph 3, the schedule set forth below shall

               govern all such cases and will not be delayed pending selection of any additional

               cases for the Water Provider Discovery Pool.

       C.      A party may file objections to the cases proposed for the Water Provider Bellwether

Discovery Pool, by Plaintiff and Defendant leadership under Paragraphs B(1) and (2), by filing

specific objections within 10 days of submission. Plaintiff and Defendant leadership may file a

response to any such objection within 5 days thereafter. The Court shall retain the final authority

to approve cases for the Water Provider Bellwether Discovery Pool, but will give deference to

cases jointly recommended pursuant to Paragraph B(1).

       D.      If a Water Provider Bellwether Discovery Pool Case nominated or agreed to by the

PEC pursuant to paragraph B is dismissed on or before March 31, 2021, the PEC may nominate a




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replacement case within seven days of dismissal. If Defendants do not agree to the new selection

as representative, Defendants may submit briefing explaining why the nominated case is not

representative and asking the Court to require the PEC to nominate an alternative case should the

Court agree.

       E.      If a Water Provider Bellwether Discovery Pool Case nominated by the DCC

pursuant to paragraph B is dismissed on or before March 31, 2021, the DCC may select a

replacement case within seven days of dismissal. If Plaintiffs do not agree to the new selection as

representative, Plaintiffs may submit briefing explaining why the nominated case is not

representative and asking the Court to require Defendants to nominate an alternative case should

the Court agree. Unless otherwise agreed by the parties, if the PEC or a Water Provider Plaintiff

dismisses a Water Provider Bellwether Discovery Pool Case nominated or agreed to by the DCC

pursuant to paragraph B after March 31, 2021 (so long as the dismissal is not due to settlement),

the DCC may de-designate a Water Provider Bellwether Discovery Pool Case nominated or agreed

to by the PEC from consideration as a trial pool selection by the September 3, 2021 deadline

identified in paragraph G below. The PEC reserves the right to seek relief from the Court on such

a de-designation on good cause shown.

       F.      The parties shall conduct Core Discovery on the Water Provider Bellwether

Discovery Pool Cases from February 25, 2021 through August 6, 2021 (for all agreed to cases)

and from March 8, 2021 through August 13, 2021 for any case the Court selects. The parties shall

meet and confer to determine the anticipated number of depositions and written discovery requests

applicable in each selected case, bearing in mind that this phase is Tier One Core Discovery and

the parties will have the opportunity to conduct further Tier Two discovery if the case is ultimately

selected as Bellwether Trial Pool Case. By March 15, 2021, the parties shall submit a joint report




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informing the Court of the agreements or disagreements (if any) on these parameters, which the

Court will resolve as necessary.2 In each Water Provider Bellwether Discovery Pool case, there

shall be a presumptive limit of seven depositions taken by Defendants, and four depositions taken

by Plaintiff(s) as to each defendant in a particular case. Depositions of third-parties shall not count

against the limits. In depositions of Defendants in Water Provider Bellwether Discovery Pool

Cases, plaintiffs’ counsel shall endeavor not to ask questions that are duplicative of questions asked

of the same deponents in depositions already taken during general liability discovery. The parties

also may serve case-specific written discovery, provided, however, that such discovery shall not

duplicate written discovery propounded during general liability discovery by the PEC, including

but not limited to PFSs and DFSs. The parties are reminded that they have a continuing obligation

to supplement the PFS and DFS.

       G.      If a Defendant plans to file a motion to dismiss under Federal Rules of Civil

Procedure 12(b)(1) or 12(b)(2), this will be identified to the Court whether the case is agreed to or

if it is one of the party’s nominations. If the case is selected, any such motion shall be filed within

21 days of a case being selected as a Bellwether Discovery Pool Case unless the Court orders

otherwise. Otherwise, all named non-moving Defendants shall file an answer to each operative

complaint within 28 days of a case being selected as a Bellwether Discovery Pool Case.

       H.      Following the close of Tier One Core Discovery on August 6, 2021 or August 13,

2021, and, by no later than September 3, 2021, the parties shall submit simultaneous briefs

informing the Court of the parties’ positions as to which Water Provider Bellwether Discovery



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  Notwithstanding this requirement to meet and confer on discovery parameters, Core Discovery
can start on February 25, 2021 for agreed cases or on the next business day after the Court issues
an order selecting any other cases. Should the Court select non-agreed cases after March 8,
2021, the parties shall meet and confer to amend the dates in this CMO to provide for sufficient
time for discovery prior to selection of cases for the Water Provider Bellwether Trial Pool.


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Pool Cases should be selected by the Court for inclusion in the Tier Two Water Provider

Bellwether Trial Pool. No later than seven days prior to the submission of this briefing, the parties

shall meet and confer and attempt to come to agreement on any cases that should be included, and

any such cases should be clearly identified by each party in its brief. The Court will select Water

Provider Bellwether Trial Pool cases from these submissions with the final number of such cases

being dependent on the number of cases remaining in the Water Provider Bellwether Discovery

Pool at that time.

       I.      Within 90 days of the Water Provider Bellwether Discovery Pool cases being

selected (i.e., by no later than May 25, 2021), the parties shall meet and confer regarding a

proposed schedule and structure for the Tier Two Water Provider Bellwether Trial Pool cases that

will be selected by the Court in accordance with paragraph G, above. This schedule and structure

shall include: (i) case-specific expert discovery deadlines, (ii) deadlines for any additional case-

specific fact discovery that may reasonably be necessary, (iii) pre-trial dispositive motion and

Daubert briefing, and (iv) trial. The parties shall meet and confer on these issues, and submit to

the Court a proposed CMO. To the extent agreement is not reached the parties will submit their

points of agreement and disagreement on these issues.

       J.      A more detailed schedule for final pretrial matters, including witness and exhibit

lists, motions in limine, and deposition designations, will be the subject of a subsequent CMO.

       AND IT IS SO ORDERED.




                                                              s/ Richard Mark Gergel
                                                              Richard Mark Gergel
                                                              United States District Judge
December 28, 2020
Charleston, South Carolina


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